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                     IN THE UNITED STATES DISTRICT COURT
                   FOR THE MIDDLE DISTRICT OF PENNSYLVANIA

VASHUN LEWIS,                    :
    Petitioner                   :                          No. 1:21-cv-01967
                                 :
          v.                     :                          (Judge Kane)
                                 :
WARDEN OF USP-ALLENWOOD, et al., :
    Respondents                  :

                                           ORDER

       AND NOW, on this 3rd day of December, 2021, upon consideration of the petition (Doc.

No. 1) for writ of habeas corpus, and for the reasons set forth in the accompanying

memorandum, IT IS ORDERED THAT:

       1.       The petition (Doc. 1) for writ of habeas corpus is DISMISSED WITHOUT
                PREJUDICE; and

       2.       The Clerk of Court is directed to CLOSE this case.



                                                            s/ Yvette Kane
                                                            Yvette Kane, District Judge
                                                            United States District Court
                                                            Middle District of Pennsylvania
